        Case 1:23-cv-08760-NRM-CLP Document 6 Filed 11/29/23 Page 1 of 3 PageID #: 23

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                       Angel Altamirano                              )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. 23-cv-8760
                                                                     )
  Sake Kawa Inc. d/b/a Sake Kawa, Shu Lin, Wendy                     )
                Doe and Alex Doe,                                    )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           ( SEE ATTACHED RIDER - LIST OF DEFENDANTS TO BE SERVED )




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Michael Samuel, Esq.
                                           THE SAMUEL LAW FIRM
                                           1441 Broadway - Suite 6085
                                           New York, NY 10018



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               BRENNA B. MAHONEY
                                                                               CLERK OF COURT


Date:    11/29/2023
                                                                                          Signature of Clerk or Deputy Clerk
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 Civil Action No. 23-cv-8760

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
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                                                             23-cv-8760


                           LIST OF DEFENDANTS TO BE SERVED


   1. Sake Kawa Inc. d/b/a Sake Kawa
      3205 36th Avenue
      Astoria, NY 11106


   2. Shu Lin
      c/o Sake Kawa Inc. d/b/a Sake Kawa
      3205 36th Avenue
      Astoria, NY 11106


   3. Wendy Doe
      c/o Sake Kawa Inc. d/b/a Sake Kawa
      3205 36th Avenue
      Astoria, NY 11106


   4. Alex Doe
      c/o Sake Kawa Inc. d/b/a Sake Kawa
      3205 36th Avenue
      Astoria, NY 11106
